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                                               Order
                                IT IS ORDERED that ECF No. 52 is
                                GRANTED in part and DENIED in part.
                                Because Plaintiff is pro se, the Court finds
                                good cause to grant him a short extension
                                of time to file a response to Defendants'
                                motions to enforce the settlement (ECF
                                Nos. 49, 51). Plaintiff will have until
                                December 23, 2021 to file responses to
                                these motions. Should he wish to retain
                                counsel, he must do so soon so as to meet
                                that deadline.
                                             IT IS SO ORDERED
                                             DATED: 2:12 pm, November 30, 2021



                                             BRENDA WEKSLER
                                             UNITED STATES MAGISTRATE JUDGE
